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3                                   UNITED STATES DISTRICT COURT

4                                           DISTRICT OF NEVADA

5                                                       ***

6       Cornelius E. Brown,                                   Case No. 3:23-cv-00618-MMD-CLB

7                                          Plaintiff,                        ORDER
               v.
8
        Hartman, et al.,
9
                                      Defendants.
10

11
              This action began with a pro se civil rights complaint filed pursuant to 42 U.S.C. §
12
       1983 by a state prisoner. Plaintiff has submitted an application to proceed in forma
13
       pauperis. (ECF No. 1.) Based on the financial information provided, the Court finds that
14
       Plaintiff is unable to prepay the full filing fee in this matter. The Court entered a screening
15
       order on October 18, 2024. (ECF No. 9.) The screening order imposed a 90-day stay,
16
       and the Court entered a subsequent order in which the parties were assigned to mediation
17
       by a court-appointed mediator. (ECF Nos. 9, 12.) The parties did not reach a settlement
18
       in mediation. (ECF No. 14.)
19
              IT IS THEREFORE ORDERED that:
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              1. Plaintiff’s application to proceed in forma pauperis (ECF No. 1) is GRANTED.
21
                    Plaintiff will not be required to pay an initial installment of the filing fee. In the
22
                    event that this action is dismissed, the full filing fee must still be paid pursuant
23
                    to 28 U.S.C. § 1915(b)(2).
24
              2. The movant herein is permitted to maintain this action to conclusion without the
25
                    necessity of prepayment of any additional fees or costs or the giving of security
26
                    therefor. This order granting leave to proceed in forma pauperis will not extend
27
                    to the issuance and/or service of subpoenas at government expense.
28
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1           3. Pursuant to 28 U.S.C. § 1915(b)(2), the Nevada Department of Corrections

2              must pay to the Clerk of the United States District Court, District of Nevada,

3              20% of the preceding month’s deposits to Plaintiff’s account (Cornelius E.

4              Brown, #31659), in the months that the account exceeds $10.00, until the full

5              $350.00 filing fee has been paid for this action. The Clerk of the Court is

6              directed to SEND a copy of this order to the Finance Division of the Clerk’s

7              Office and to SEND a copy of this order to the attention of the Chief of Inmate

8              Services for the Nevada Department of Corrections, P.O. Box 7011, Carson

9              City, NV 89702.

10          4. The Clerk of the Court electronically SERVE a copy of this order and a copy of

11             Plaintiff’s First Amended Complaint (ECF No. 8) on the Office of the Attorney

12             General of the State of Nevada by adding the Attorney General of the State of

13             Nevada to the docket sheet. This does not indicate acceptance of service.

14          5. Service must be perfected within 90 days from the date of this order pursuant

15             to Fed. R. Civ. P. 4(m).

16          6. Subject to the findings of the screening order (ECF No. 9), within 21 days of

17             the date of entry of this order, the Attorney General’s Office must file a notice

18             advising the Court and Plaintiff of: (a) the names of the Defendants for whom it

19             accepts service; (b) the names of the Defendants for whom it does not accept

20             service, and (c) the names of the Defendants for whom it is filing the last-

21             known-address information under seal. As to any of the named Defendants for

22             whom the Attorney General’s Office cannot accept service, the Office must file,

23             under seal, but must not serve the inmate Plaintiff, the last known address(es)

24             of those Defendant(s) for whom it has such information. If the last known

25             address of the Defendant(s) is a post office box, the Attorney General’s Office

26             must attempt to obtain and provide the last known physical address(es).

27          7. If service cannot be accepted for any of the named Defendant(s), Plaintiff must

28             file a motion identifying the unserved Defendant(s), requesting issuance of a


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1              summons, and specifying a full name and address for the Defendant(s). For

2              the Defendant(s) as to which the Attorney General has not provided last-

3              known-address information, Plaintiff must provide the full name and address

4              for the Defendant(s).

5           8. If the Attorney General accepts service of process for any named Defendant(s),

6              such Defendant(s) must file and serve an answer or other response to the

7              complaint (ECF No. 11) within 60 days from the date of this order.

8           9. Plaintiff must serve upon Defendant(s) or, if an appearance has been entered

9              by counsel, upon their attorney(s), a copy of every pleading, motion or other

10             document submitted for consideration by the Court. If Plaintiff electronically files

11             a document with the Court’s electronic-filing system, no certificate of service is

12             required. Fed. R. Civ. P. 5(d)(1)(B); Nev. Loc. R. IC 4-1(b); Nev. Loc. R. 5-1.

13             However, if Plaintiff mails the document to the Court, Plaintiff must include with

14             the original document submitted for filing and a certificate stating the date that

15             a true and correct copy of the document was mailed to the Defendants or

16             counsel for the Defendants. If counsel has entered a notice of appearance,

17             Plaintiff must direct service to the individual attorney named in the notice of

18             appearance, at the physical or electronic address stated therein. The Court

19             may disregard any document received by a district judge or magistrate judge

20             which has not been filed with the Clerk, and any document received by a district

21             judge, magistrate judge, or the Clerk which fails to include a certificate showing

22             proper service when required.

23          10. This case is no longer stayed.

24          IT IS SO ORDERED.

25          DATED: February 19, 2025.

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27
                                                 UNITED STATES MAGISTRATE JUDGE
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